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15   and the Proposed Class

16
                                   UNITED STATES DISTRICT COURT
17                               NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
18
     PAUL TREMBLAY, et al.,                                Case No. 3:23-cv-03223-AMO
19
            Individual and Representative Plaintiffs,
20                                                         NOTICE OF VOLUNTARY DISMISSAL OF
            v.
                                                           PLAINTIFF MONA AWAD PURSUANT TO
21
     OPENAI, INC.; et al.,                                 FED. R. CIV. P. 41(a)(1)(A)(i)
22
            Defendants.
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       Case No. 3:23-cv-03223-AMO
           NOTICE OF VOLUNTARY DISMISSAL OF PLAINTIFF MONA AWAD PURSUANT TO FED. R. CIV. P.
                                             41(a)(1)(A)(i)
              Case 3:23-cv-03223-AMO Document 29 Filed 08/11/23 Page 2 of 2




 1          Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiﬀs hereby give

 2   notice that Plaintiﬀ Mona Awad and her individual claims in the Complaint (ECF No. 1) in the above

 3   captioned action are voluntarily dismissed without prejudice against defendants OpenAI, Inc.; OpenAI,

 4   L.P.; OpenAI OpCo, L.L.C.; OpenAI GP, L.L.C.; OpenAI Startup Fund GP I, L.L.C.; OpenAI Startup

 5   Fund I, L.P.; and OpenAI Startup Fund Management, LLC (“Defendants”). �is voluntary dismissal is

 6   only with respect to Plaintiﬀ Mona Awad and does not impact the claims against Defendants brought by

 7   the other named Plaintiﬀ in this matter nor in any related matter, including but not limited to Silverman,

 8   et al v. OpenAI, Inc., et al., No. 4:23-cv-03416-KAW (N.D. Cal. July 7, 2023). Defendants have not ﬁled

 9   an answer or a motion for summary judgment.
10

11   Dated: August 11, 2023                          By:          /s/ Joseph R. Saveri
                                                                   Joseph R. Saveri
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27

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